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                        CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS. , q j q pgm
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                                           STATE OF LOUISIANA
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    NO: 2019- D{_3l                                                                                 .SECTION"^®

                                       WORLD WAR II THEATRE, INC.


                                                   VERSUS


      DESIMONE CONSULTING ENGINEERING GROUP,LLC; WILLIAM R. O'DONNELL,
                                P.E.; EVANSTON INSU^CRCOMEM^apoleon
          MARKEL SPECIALTY INSURANCE COMPANY; ANDrMARKEL INSIIRANCE
                                  COMPANY fj .yi i_ c 0 U R T S S U l LD ! M O
                                                             421 LOYOLAAVENUE - ROOM 402
                                                             NEW ORLEANS. LA 7 01 12
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                                          PETITION FORDAMAGES                              a" ci a ccio
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           NOW INTO COURT, through undersigned cqiinsel^cbmes Wqrlcl ^3r,-I"I Theatre","The.,


    and alleges as follows:                                  Grand Total                   $ 1285.00
                                                             Amount Received                3 1295.03
                                                        1. lisianee Dae                    ? Q.00

                                                             Ova r P ayment                5 0 .00
             Plaintiff, World War II Theatre, Inc. ("WWRTFigrt


    that operates as a tax exempt supporting organization to'TlielVatioiial World War II Museum,

    Inc. The National World War II Museum is a museum located in New Orleans, Louisiana that is

                                                             lie m                                 C ha road               Paid         03 1
    dedicated to preserving and presenting the story ^e0^^c^^perienc^^^oj:l|^&,^0 -00
                                                             Judicial Coilege                             $0.50           $0.50       $0.00
    The Museum is a world-renowned destination for tourists, and^cholars.                                 .$25.00         $26.00 $0.00
                                                                                                                                                    .




                                                             : f. i i g e ni Leg-si Fes                   $ 1 0 .00       $ 1 0 .00   $0 .uu
                                                        2.   , sc                                         $25.00          $25.00 .$0.00
                                                                                                      $10.00             $10.00       $0.00
             Made defendants herein are:

                                                             H a q u est to r T ri si by              $730 .00 $780.00 $0.00
                       a)     DeSimone    Consulting Engineering  Group,     LLC
                              ("DeSimone"), a foreign limited liability . company
                              authorized to do and doing business in Louisiana;


                       b)     William R. O'Donnell, P.E., a professional                         engineer
                              licensed in the State of Louisiana;


                       c)     Evanston Insurance     Company          ("Evanston"),            a foreign
                              insurance company made          a defendant pursuant to the
                                                                                                                                                4
                              Louisiana Direct Action Statute, La. Rev. Stat. § 22:1269;
                            • and


                       d)     Markel   Specialty   Insurance         Company         and/or        Markel
                              Insurance    Company     (collectively         "Markel"),            foreign
                              insurance companies made defendants pursuant to the
                              Louisiana Direct Action Statute, La. Rev. Stat. § 22:1269...
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                                                     3.


              Venue is proper in this Parish pursuant to Louisiana Code of Civil Procedure articles 74

    and 76.

                                                     4.


              This Court has jurisdiction over this action pursuant to Louisiana Code of Civil
                                                                                                         ...




    Procedure article 2, Louisiana Civil Code article 2315, and Louisiana Revised Statute section

    22:1269.
                                                                                                         ;           :


                                                     5.                                                          *


              Defendants are subject to the personal jurisdiction of this Court pursuant to Louisiana

    Code of Civil Procedure article 6 and Louisiana Revised Statute section 13:3201(A)(1)—(3).

                                                      6.


              WWIITI is constructing the "Higgins Hotel & Conference Center" on property adjacent


    to The National World War II Museum.         The design and construction of the Higgins Hotel &

    Conference Center is hereafter referred to as the "Hotel Project."
                                                                                                             i;::

                                                      7.


              On or about March 6. 2017, WWIITI retained Nichols Brosch Wurst Wolfe and


    Associates, Inc. ("Nichols") to serve as the architect for the Hotel Project.

                                                      8.


              DeSimone is an engineering company that provides, inter alia, structural engineering


    services for architects, owners, and developers.        DeSimone agreed to serve as the structural


    engineer for the Hotel Project pursuant to a contract executed by Nichols and DeSimone.


    DeSimone expressly agreed, in Section 10.4 of its contract with Nichols, that WWIITI "may


    make a direct claim for legal or equitable relief against [DeSimone] for acts, errors and/or


    omissions" by DeSimone.

                                                      9.

                                                                                                                 k
              William R. O'Donnell, P.E. ("O'Donnell") is a partner of DeSimone and serves as the

    managing principal of DeSimone' s Miami Office. The contract between Nichols and DeSimone

    identifies O'Donnell as DeSimone's "designated representative" for purposes of the Hotel

    Project. On information and belief, O'Donnell either prepared the structural design drawings for

    the Hotel Project and/or they were prepared under his supervision.                                           :




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                                                     10.


              WWIITI hired Palmisano Contractors LLC ("Palmisano") to serve as the General
                                                                                                                   *
    Contractor for the Hotel Project pursuant to a separate contract between WWIITI and Palmisano.


                                                     11.


              On April 26, 2018, Palmisano advised WWIITI that DeSimone had made multiple


    revisions to previously issued design drawings.         DeSimone's revisions caused, inter alia, a


    significant amount of rework, changes to beams that had already been detailed, fabricated, and


    installed in the field, increased costs, and schedule impact.


                                                     12.


              On or after April 26, 2018, Palmisano advised WWIITI that steel beams, which


    Palmisano had previously installed on the second and third floors on the east side of the building,


    appeared to be deflecting after the installation of the steel deck,          DeSimone subsequently


    confirmed that the beams, which it had designed, were under-sized and insufficient to handle the


    building loads and that remediation would be required.          As a result of this egregious error by


    DeSimone, Palmisano had to detail and fabricate the steel repairs, reinforce five beams on the           !.

    second floor, remove six existing steel beams on the third floor and install larger steel beams in

    their place.   The foregoing repairs required Palmisano to block out the repair areas in order to

                                                                                                             .4
    pour the surrounding concrete decks, which impacted the Hotel Project schedule.

                                                     13.


              In early August 2018, Palmisano advised WWIITI that another structural steel beam,


    which had been previously installed on the third floor on column line 1 on the east side of the

    building, appeared to be too small and inadequate to support the concrete block wall load from


    the third floor up to the ninth floor roof. DeSimone subsequently acknowledged that remediation
                                                                                                             r
    would be required and that DeSimone's structural drawings required revisions due to design

    errors.



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              On August 14, 2018, DeSimone instructed Palmisano by telephone to stop work in the
                                                                                                              i;
    area of the foregoing concrete block wall pending DeSimone's preparation of details for the

    structural repair. From August 14, 2018 through August 23, 2018, Palmisano repeatedly asked

    DeSimone if the building was safe and whether structural shoring was required.

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                                                     15.                                                IS;

           Concerned by the number and severity of the foregoing errors, WWIITI, on August 15,


    2018, requested a third party peer review of the entire structural design.
                                                                                                        Hi:
                                                     16.


           On August 27, 2018, DeSimone instructed Palmisano to stop any further concrete block

    work on the entire length of the building.     On that same day, WWIITI requested that Nichols


    provide a written stop work order for work on column line 1, repair details, and a response to

    WWIITI' s August 15th request for a third party structural peer review of the structural design.

                                                                                                        'Vi
                                                     17.


            On August 28, 2018, Nichols provided a letter from DeSimone stating that it had directed

    Palmisano to cease work in all areas on column line 1 impacted by the foregoing superstructure


    design deficiencies. Despite all of the foregoing, DeSimone took no action to review the entirety   >
                                                                                                        It
                                                                                                        L
    of its structural design, including the foundation.                                                 I

                                                     18.


            On Thursday, August 30, 2018, Nichols notified WWIITI that DeSimone had discovered

    more than 27 additional locations with undersized beams.           Greatly alarmed, WWIITI then


    implored DeSimone to aggressively provide a revised design to ensure the safety of the
                                                                                                                v




    superstructure. In response, DeSimone informed WWIITI that shoring in specific locations was


    required, that the building could be only partially occupied and was subject to load limitations,

    and that construction on the level 8 masonry wall and the west level 7 masonry wall could not           I
                                                                                                            li
                                                                                                            [
    proceed until the repair designs and related-repairs were completed. The foregoing delay to the

    construction of masonry walls prevented Palmisano from completing the roof and making the               ::


    building water tight as planned, causing a direct impact to the critical path of the construction

    schedule. Despite the severity of the errors and DeSimone's recognition of their impact on the

    schedule, DeSimone refused to commence work on designing the repairs during the weekend
                                                                                                            I
    following notice of the 27-plus undersized beams.

                                                      19.
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            More than two months after WWIITI' s request, on October 17, 2018, Ysrael A. Seinuk,

    P.C. Consulting Engineers issued a structural peer review report that confirmed the existence of
                                                                                                                i!
    the more than 27 additional superstructure design deficiencies caused by DeSimone's errors




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   and/or omissions, including more than twenty (20) additional undersized beams.        The Seinuk


   report also identified additional concerns that DeSimone had failed to identify.


                                                      20.


             Nichols subsequently informed WWIITI that the Seinuk peer review did not include a


   review of the hotel foundation and that DeSimone was not planning to request a peer review of
                                                                                                                   4
   the foundation.     As a result, foundation-related problems were not timely identified and


   DeSimone further delayed the Hotel Project by failing to timely review and identify foundation-


   related deficiencies.

                                                      21.


             On October 12, 2018, Nichols advised WWIITI of the necessity of bolstering the


    foundation with two additional massive pile caps beneath the hotel along column 1 .     Each pile


    cap was comprised of sectional steel pipes driven to a depth of approximately 100 feet.      The


    delay in discovering and addressing the foundation deficiency and designing new pile caps


    further delayed the Hotel Project and caused WWIITI to incur significant unnecessary additional      "

    costs.


                                                      22.


             The superstructure design deficiencies identified in paragraphs 11 - 21 above are


    hereafter referred to as the "Structural Design Deficiencies."     All or substantially all of the


    permit set of structural drawings underlying the Structural Design Deficiencies bear the             i




    professional engineer stamp of William R. O'Donnell, P.E.            On information and belief,


    O'Donnell either prepared the foregoing design drawings and/or they were prepared under his

    supervision or lack thereof.

                                                      23.


             In addition to removing and replacing multiple steel beams, repairs to remediate the

    Structural Design Deficiencies required Palmisano to, inter alia, install shoring to stabilize the
                                                                                                          i

    existing structure, weld multiple steel plates to existing beams, strengthen portions of the

    foundation, add new steel beams, add pipe piles, increase pile caps and add new pile caps and
                                                                                                          .




    incur additional testing and inspections costs.

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                                                   24.


           The Structural Steel Deficiencies forced Palmisano to revise its construction sequence,

    impeded Palmisano' s performance, added extra costs, and substantially delayed the completion
                                                                                                           is;
    of the Hotel Project, causing WWIITI to suffer significant damages.


                                                   25.


           On information and belief, from the initial request for a peer review through completion

    of design revisions, DeSimone failed to take timely action to identify and address the Structural


    Steel Deficiencies and to conduct itself with the urgency required to mitigate damage and delay


    to the Hotel Project and WWIITI.        DeSimone did not release its first repair sketch, until        r

    September 4, 2018.    On September 18, 2018, DeSimone rescinded previously issued repair


    sketches and stated that the sketches need to be revised for areas in Group 1A and IB, which


    areas were critical to completing the superstructure.   The deficiencies on the. initial third floor


    beam were identified on August 8, 2018, but DeSimone did not release the final repair details


    until October 29, 201 8, almost twelve (12) weeks after the problem was identified.

                                                   26.                                                          4


           DeSimone failed to assign a sufficient number of qualified personnel to manage and


    expedite the process of identifying and resolving the Structural Design Deficiencies. DeSimone

    also ignored WWIITI' s repeated recommendation that DeSimone assign a structural engineer to


    work on-site to manage field questions and mitigate schedule delay.      As a result, WWIITI and
                                                                                                           I

    Palmisano staff were required to spend an inordinate amount of project management time


    working on issues caused by DeSimone' s Structural Design Deficiencies.

                                                   27.


           Palmisano instituted methods to mitigate the delay caused by DeSimone' s Structural              i


    Design Deficiencies, such as installing a temporary roof to mitigate some of the delay associated
                                                                                                           ?•¥
    with the installation of drywall in the building interior.    Palmisano also instructed its steel

    detailer to expedite shop drawings of repairs, expedite steel fabrication for the repairs, and to

    increase the number of welders to keep up with structural steel repairs. Despite the efforts to

    mitigate the delay, the Structural Design Deficiencies caused a minimum sixty-one (61) day

    delay to the completion of the Hotel Project ("the Delay").


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                                                        28.


           Palmisano threatened to stop work on the Hotel Project absent WWIITI's written

    agreement to compensate Palmisano for the cost of its extended general conditions caused by the


    Delay. A work stoppage by Palmisano would have significantly delayed the Hotel Project and

    substantially increased costs. Palmisano provided WWIITI with documentation establishing that

    Palmisano's extended general condition costs amounted to $7,100.00 per day and that such costs

    would be incurred for a minimum sixty-one (61) day delay to the completion of the Hotel Project

    for a total extended general condition costs of at least $433,100.00. To mitigate its damages by
                                                                                                               4
    preventing Palmisano from walking off the Hotel Project job, and after evaluating documentation    SO
                                                                                                       lifi

    that supported Palmisano's calculation of extended general condition costs, WWIITI agreed to

    increase Palmisano's compensation by the sum of $433,100.00.                                        0


                                                   DAMAGES


                                                        29.


           As a direct and proximate result of the acts, errors, and omissions described herein,
                                                                                                        S'
    WWIITI has suffered significant damage and is continuing to suffer and incur damages.               il

                                                        30.


           The Delay caused by the Structural Steel Deficiencies has significantly increased the        1

    costs of the Hotel Project.     WWIITI's damages for the Delay are conservatively expected to

    exceed one million dollars. In addition to WWTI's obligation to pay Palmisano an additional

    $433,100.00 for its extended general condition costs, WWIITI's damages for the Delay, include,

    but are not limited to:

                                                                                                        !;;
                    a.        Extended financing costs in the amount of $450,000.00;
                                                                                                        5:
                    b.        Increased office lease expense in the amount of $3,125.00
                              per month for each month of Delay;
                                                                                                        ili
                    c.        Increased bank inspection charges in the            amount of
                              $950.00 per month for each month of Delay;                                   r


                    d.        Extended purchasing agent services of at least $7,500.00
                              per month for each month of Delay;

                    e.        Extended hotel operator technical services charges in                        I,
                              excess of $3 1,300.00 per month for each month of Delay;

                    f.        Increased    costs   of   storing   furniture,   fixtures,   and
                              equipment;


                    g-        Increased cost of extended builder's risk insurance;

                    h.        Extended construction management costs;




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                   i.      Increased hotel staff expenses;

                   j.      Increased marketing costs ;
                                                                                                                   4
                   k.      Lost revenue;
                                                                                                           I
                   1.      Damage to reputation and/or loss of good will.

                                                    31.


           Defendants are individually and solidarity liable to WWIITI for all damages caused by


    the acts, errors, and omissions described herein, including but not limited to, all costs incurred


    for repairs, damages due to the Delay, costs incurred to mitigate the Delay, all testing required by       "

    the repair work, Palmisano's extended general condition costs of $433,100.00, any extended


    general conditions costs incurred by Palmisano's subcontractors, lost revenue, damages to


    reputation, loss of good will, and other damages to be shown at trial plus pre-judgment and post-          _




    judgment legal interest, and all costs of these proceedings.


            COUNT 1: DESIMONE'S AND O'DONNELL'S GROSSLY NEGLIGENT
                                  PROFESSIONAL UNDERTAKING

                                                    32.


            The foregoing allegations are incorporated by reference as if fully re-stated herein.


                                                     33.


            DeSimone and O'Donnell knew that their engineering design services were for the

    protection of WWIITI and DeSimone and O'Donnell owed professional duties of care to


    WWIITI to perform services in accordance with the skill usually exercised by others in the

    engineering profession in the New Orleans area.           DeSimone and O'Donnell breached these

    duties and were grossly negligent in the following non-exclusive particulars:

                    a.     Failing to properly calculate and/or account for building
                           loads in the engineering design of the Hotel;                                       L


                    b.     Providing deficient and defective         drawings    for   the
                           engineering design of the Hotel;
                                                                                                               :



                    C.     Failing to oversee and supervise personnel assigned to
                           work on the engineering design for the Hotel Project;
                                                                                                                   Ll

                    d.     Failing to perform internal reviews of its engineering
                           design to    ensure   compliance with basic professional
                           standards for the Hotel Project;            -

                    e.     Failing to provide field supervision during construction of
                           the Hotel Project;

                    f.     Failing to timely identify and remediate errors and/or
                           omissions in the engineering design of the Hotel;

                    g-      Gross and substantial deviation from sound engineering
                           principles and the required duties of care; and


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                  h.      Other acts, errors, and omissions to be shown at trial.

                                                   34.


           The gross negligence of DeSimone and O'Donnell have caused and are continuing to


    cause damages to WWIITI.          The gross negligence of DeSimone and O'Donnell could have
                                                                                                        L

    caused catastrophic superstructure failure and loss of life but for Palmisano's discovery of the


    superstructure problems.


                               COUNT 2: DIRECT ACTION LIABILITY

                                                   35.


           The foregoing allegations axe incorporated by reference as if fully re-stated herein.


                                                   36.


           On information and belief, Evanston and/or Markel, during all relevant times, insured
                                                                                                            4
    DeSimone and O'Donnell for the acts, errors, and omissions described above.

                                                    37.


           Direct action against Evanston and/or Markel is authorized by the Louisiana Direct


    Action Statute, La. Rev. Stat. § 22:1269.


                                                    38.


           WWIITI prays for a trial by jury.


           WHERERFORE, Plaintiff, World War II Theatre, Inc., prays that its Petition be deemed

    good and sufficient and that, after due proceedings herein, there be judgment in Plaintiffs favor

    and against Defendants for all damages sustained by Plaintiff, including but not limited to costs

    incurred for repairs, damages due to the Delay, costs incurred to mitigate the Delay, all testing

    required by the repair work, Palmisano's extended general condition costs of $433,100.00, any

    extended general conditions costs incurred by Palmisano's subcontractors, lost revenue, damages

    to reputation, loss of good will, and other damages to be shown at trial, plus pre-judgment and

    post-judgment legal interest, all taxable costs of these proceedings, and any other remedies to

    which Plaintiff maybe entitled.
                                                                                                            $




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Case 2:19-cv-11187-CJB-MBN Document 1-3 Filed 06/12/19 Page 10 of 10



                                                Respectfully submitted,



                                                i.                                           'fj
                                                S. Gene Fendler (Bar # 05510)
                                                Shannon S. Holtzman (Bar # 19933)
                                                Mark R. Deethardt (Bar # 3451 1)
                                                LISKOW & LEWIS
                                                One Shell Square
                                                                                                      I
                                                701 Poydras Street, Suite 5000
                                                New Orleans, Louisiana 70139
                                                Telephone: (504) 581-7979


                                                Attorneys for Plaintiff, World War II Theatre, Inc.


    SERVICE INSTRUCTIONS:


    PLEASE SERVE:


    DeSimone Consulting Engineering Group, LLC
    Through its Registered Agent for Service of Process:
    Louisiana Corporate & Registered Agent Services, Inc.
    3867 Plaza Tower Dr., 1st Floor
    Baton Rouge, LA 70816


    Evanston Insurance Company
    Through its Statutorily Designated Agent for Service of Process:
    R. Kyle Ardoin
    Louisiana Secretary of State
    8585 Archives Ave.
    Baton Rouge, LA 70809


    Markel Specialty Insurance Company and/or
    Markel Insurance Company
    Through its Statutorily Designated Agent for Service of Process:
    R. Kyle Ardoin
    Louisiana Secretary of State
    8585 Archives Ave.
    Baton Rouge, LA 70809
                                                                                                      4


    PLEASE ISSUE CERTIFIED COPIES OF CITATION
    AND PETITION FOR SERVICE VIA LONG-ARM STATUTE:

    William R. O'Donnell, P.E.
    DeSimone Consulting Engineers
    800 Brickell Ave., 6th Floor
    Miami, FL 33131




    4881676J




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